                                                                                             NORTH CAROLINA WESTERN
                                                                                                      MEMORANDUM
        Date: 3/18/2015

          To: The Honorable Robert J. Conrad
              U.S. District Court Judge

       From: Valerie G. Debnam
             United States Probation Officer

     Subject: Amparo, Xiomara
              Case No: 3:11CR75-02
              Out-of-Country Travel Request


Ms. Amparo appeared before Your Honor on March 20, 2012, for the offense of False Claims Conspiracy-Falsely and
Fraudulently Obtained Income Tax Record. She was sentenced to eighteen (18) months imprisonment followed by two
(2) years’ supervised release. The following special conditions were ordered: (1) the defendant shall submit to mental
health evaluation and treatment program under the guidance and supervision of the Probation Office. The defendant
shall remain in treatment and maintain use of any prescribed medication until satisfactorily discharged by the program
and with the approval of the Probation Office; (2) the defendant shall pay a special assessment of $100 (paid); (3) the
defendant was ordered to pay restitution in the amount of $891,174.00 in monthly installments of $50 (balance
$883,035.66).

According to United States Probation Officer from the Eastern District of Pennsylvania, Ms. Amparo has submitted a
request to travel to the Dominican Republic, for the purpose of visiting her family. Her 8 year old son who presently
resides in the Dominican Republic wishes to return to the United States with his mother, Xiomara Amparo. According to
the Probation Officer, the minor child is unable to travel unaccompanied, and officials will not release him without Ms.
Amparo being present, due to the international flight. Ms. Amparo will leave on May 14, 2015, and return on May 30,
2015. She will be staying at 27 de Febrero, Casa 171, Guaraguao, Limon Del Yuna, Republica Dominicana.

Ms. Amparo currently maintains a stable residence. She was laid off at the beginning of this year due to lack of work and
health issues. Her significate other contributes to her finances, including her flight to the Dominican Republic. According
to her Probation Officer there have been no known incidents or noncompliance issues to date.

It is recommended that Ms. Amparo be allowed to travel to Dominican Republic, as long as she remains in compliance
with the terms and condition of supervision.




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Thank you for your attention to this matter, and should Your Honor have any questions, please contact my office at
(704) 350-6656.

(x)    Permission to Travel Approved

( )    Permission to Travel Denied

( )    Other



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Date




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